            UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA


Hassie Demond Knowlin

       v.                                               Case Number: 1:20CV00105

Lexisnexis, et al


                               NOTICE
Take notice that a proceeding in this case has been set/reset as indicated below:

              PLACE:      L. Richardson Preyer Building
                          324 W. Market St., Greensboro, NC
COURTROOM NO.:            1A
 DATE AND TIME:           October 26, 2020 at 9:30 a.m.
   PROCEEDING:            Initial Pretrial Conference

Local Rule 16.1(b) provides that the parties must hold their R. 26(f) conference at least 14 days
before the scheduled initial pretrial conference and submit to the court their report within 10
days thereafter. The scheduled initial pretrial conference is automatically canceled upon the
submission to the court of the Joint Rule 26(f) Report (LR 16.2). If parties are unable to reach
agreement on a discovery plan and therefore submit separate Rule 26(f) Reports (LR 16.3),
they shall appear for the scheduled initial pretrial conference.

_________________________________________________________________________

John S. Brubaker, Clerk

By: /s/ Kimberly Garrett, Deputy Clerk

Date: August 6, 2020

TO:     ALL COUNSEL AND/OR PARTIES OF RECORD




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